           Case 1:19-vv-01436-UNJ Document 80 Filed 11/05/21 Page 1 of 7




  In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS

******************** *
MATTHEW DRIGGERS,        *
                         *                         No. 19-1436V
             Petitioner, *                         Special Master Christian J. Moran
                         *
v.                       *                         Filed: October 14, 2021
                         *
SECRETARY OF HEALTH      *                         Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                         anaphylaxis; chronic urticaria.
                         *
                         *
             Respondent. *
******************** *

Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner;
Amanda Pasciuto, United States Dep’t of Justice, Washington, DC, for
Respondent.

                             UNPUBLISHED DECISION1

       On October 12, 2021, the parties filed a joint stipulation concerning the
petition for compensation filed by Matthew Driggers on September 18, 2019.
Petitioner alleged that the influenza (“flu”) vaccine he received on September 20,
2016, which is contained in the Vaccine Injury Table (the “Table”), 42 C.F.R.
§100.3(a), caused him to suffer from anaphylaxis and chronic urticaria. Petitioner
represents that there has been no prior award or settlement of a civil action for
damages on his behalf as a result of his condition.

     Respondent denies that the vaccine either caused petitioner to suffer from
anaphylaxis or chronic urticaria, or any other injury or his current condition.

       1
         The E-Government Act, 44 U.S.C. § 3501 note (2012) (Federal Management and
Promotion of Electronic Government Services), requires that the Court post this decision on its
website. Pursuant to Vaccine Rule 18(b), the parties have 14 days to file a motion proposing
redaction of medical information or other information described in 42 U.S.C. § 300aa-12(d)(4).
Any redactions ordered by the special master will appear in the document posted on the website.
           Case 1:19-vv-01436-UNJ Document 80 Filed 11/05/21 Page 2 of 7




      Nevertheless, the parties agree to the joint stipulation, attached hereto. The
undersigned finds said stipulation reasonable and adopts it as the decision of the
Court in awarding damages, on the terms set forth therein.

       Damages awarded in that stipulation include:

       A lump sum payment of $35,000.00 in the form of a check payable to
       petitioner. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment according to this decision and the attached
stipulation.2


       IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




       2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.

                                                2
Case 1:19-vv-01436-UNJ Document 80 Filed 11/05/21 Page 3 of 7
Case 1:19-vv-01436-UNJ Document 80 Filed 11/05/21 Page 4 of 7
Case 1:19-vv-01436-UNJ Document 80 Filed 11/05/21 Page 5 of 7
Case 1:19-vv-01436-UNJ Document 80 Filed 11/05/21 Page 6 of 7
Case 1:19-vv-01436-UNJ Document 80 Filed 11/05/21 Page 7 of 7
